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                Exhibit A
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     L465secC

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    SECURITIES and EXCHANGE
     COMMISSION,
4
                      Plaintiff,
5
                 v.                                 20 Civ. 10832 (AT)(SN)
6                                                   Remote Proceeding

7    RIPPLE LABS, INC., et al.,

8                     Defendants.

9    ------------------------------x
                                                    New York, N.Y.
10                                                  April 6, 2021
                                                    2:00 p.m.
11
     Before:
12
                              HON. SARAH NETBURN,
13
                                                    U.S. Magistrate Judge
14

15                                 APPEARANCES

16
     SECURITIES and EXCHANGE COMMISSION
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1    I am just looking at the actual requests themselves.           I know we

2    have been talking about requests 4, 7, 8, 11, and 14.           Search

3    all of the relevant repositories for documents and discovery

4    related to communications to third-parties.         In addition, I am

5    ordering that discovery be conducted of all 19 custodians.            I

6    don't think that the SEC's arguments, as set forth within their

7    letters and again today, are a legitimate basis given the

8    relevancy standard to preclude discovery here.          19 custodians

9    for an incredibly high-stakes, high-value litigation is not

10   unreasonable, and given the three different categories of

11   grounds not to produce documents, I don't think that that is a

12   legitimate basis so I am going to direct that the SEC search

13   all 19 custodians for relevant and responsive documents.

14             I am going to deny in part the request for discovery

15   that is internal, and specifically internal, for instance

16   e-mail communications between what I will call the SEC staff to

17   SEC staff.    I think that that communication both is less

18   relevant as it goes to how the outside world -- how the market

19   is considering XRP and how the individual defendants, how it

20   affects their reasonable belief, and I also think that there

21   are likely to be extensive privilege issues there and I think

22   it has the potential to seriously chill government

23   deliberations and so I am not going to require communications

24   to be produced that are internal e-mail communications within

25   the agency.    If you want the parties to meet and confer -- and


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